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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.: 17-cv-22684
  ROBERT SCHULTZE,

          Plaintiff,
  vs.

  2K CLEVELANDER, LLC,

          Defendant.
                                                  /

                                               COMPLAINT

          Plaintiff,   ROBERT      SCHULTZE,          brings   this   action   against   Defendant,   2K

  CLEVELANDER, LLC (“Clevelander”), and alleges as follows:

                                    JURISDICTION AND VENUE

          1.      This is an action for damages brought by Plaintiff, ROBERT SCHULTZE

  (“ROBERT SCHULTZE”), against Defendant, 2K Clevelander, LLC, under, inter alia, the Fair

  Labor Standards Act 29 U.S.C. §§ 201-219 (“FLSA”). Jurisdiction is proper and is conferred on

  this Court by, inter alia, 28 U.S.C. §1331. Venue is proper because the events giving rise to this

  claim arose in this Judicial District.

          2.      At all times material hereto, Plaintiff, ROBERT SCHULTZE, was a Florida

  resident and resident of this Judicial District and an “employee” of Defendant as defined by the

  applicable law referenced herein.

          3.      At all times material hereto, Defendant, 2K Clevelander, LLC (“Clevelander”), was

  a foreign limited liability company with its principal place of business in South Florida in this

  Judicial District at or about 1020 Ocean Drive, Miami Beach, FL 33139, engaged in commerce in

  the field of restaurant, bar, and hotel operations, at all times material hereto was the “employer”
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  of Plaintiff as that term is defined under the applicable law referenced herein, engaged along with

  its employees in interstate commerce, and has annual gross sales and/or business volume of Five

  Hundred Thousand ($500,000.00) Dollars or more.

         4.      At all times material hereto, Plaintiff was an employee of Defendant protected by

  the Fair Labor Standards Act (“FLSA”) 29 U.S.C. §§ 201-219, and Defendant was an employer of

  Plaintiff subject to the FLSA, as each are defined under the FLSA. Defendant is covered by the

  FLSA’s Enterprise Coverage.

         5.      Section 7 of the FLSA provides in pertinent part that “no employer shall employ

  any of his employees who in any workweek is engaged in commerce or in the production of goods

  for commerce, or is employed in an enterprise engaged in commerce or in the production of goods

  for commerce, for a workweek longer than forty hours unless such employee receives

  compensation for his employment in excess of the hours above specified at a rate not less than one

  and one-half times the regular rate at which he is employed.” 29 U.S.C. § 207(a)(1).

         6.      In justifiable reliance upon Defendant’s representations and promises, Plaintiff

  accepted employment and began working for Defendant providing hospitality services. The work

  performed by the Plaintiff, including barbacking, was directly essential to the business performed

  by Defendant. Plaintiff was variously titled as a barback, food runner, and busser. He was

  mistitled at various times. His duties included stocking drinks, carrying food, hauling ice,

  preparing bars, and other hospitality services.

         7.      Defendant has knowingly, willfully, and improperly refused to pay Plaintiff his

  legally entitled wages. Plaintiff was not paid at all for a significant amount of time worked despite

  having full knowledge of and being notified of same by Plaintiff. Defendant was fully aware that

  it was not properly paying ROBERT SCHULTZE. The Defendant intentionally and willfully hid




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  this fact and did not pay Plaintiff the full and proper wages throughout his employment.

          8.     Plaintiff has complied with all conditions precedent to bringing this suit, or same

  have been waived or abandoned.

          9.     Plaintiff has retained the services of the undersigned to represent him in this action

  and is obliged to pay for the legal services provided.

          10.    Plaintiff’s full employment records are in Defendant’s possession and examination

  of the earnings statements; paystubs; and other documents, together with discovery of amounts

  (including cash tips) concealed, is necessary in order to calculate full and precise damages.

                                   COUNT I: FLSA VIOLATION

          11.    Plaintiff re-alleges Paragraphs 1 through 10 as if fully set forth herein.

          12.    Defendant failed to pay Plaintiff overtime due pursuant to the FLSA as described

  in part in Section 7(a)(1) of the FLSA. Defendant failed to pay Plaintiff at least 1.5 x his ‘Regular

  Rate’ of pay for all hours worked in excess of forty hours per week. Between the date of

  Defendant’s implementation of its sham ‘commission’ scheme (discussed below) and the date of

  Defendant’s termination, including the dates of approximately July 18, 2014 through

  approximately September 16, 2014, ROBERT SCHULTZE worked an average of as much as

  approximately 55 hours a week but was not paid full overtime for the hours worked in excess of

  40 hours each week. Defendant willfully and intentionally refused to pay Plaintiff overtime wages

  as required by the Fair Labor Standards Act, as Defendant knew of the overtime requirement of

  the Fair Labor Standards Act and intentionally and recklessly failed to comply with same.

  Defendant’s actions constitute a willful violation of the FLSA. This also includes, but is not limited

  to, all dates of work for which the last element of the FLSA violation occurred on or after July 18,

  2014.




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                13.            The method of calculating ‘Regular Rate’ and ‘Overtime Rate’ is set forth in the

  FLSA; the Overtime Rate is 1.5 x the ‘Regular Rate’. Between approximately July 18, 2014

  through his last day (approximately September 16, 2014), ROBERT SCHULTZE’s FLSA

  ‘Regular Rate’ of pay was approximately no less than $20 per hour and his FLSA ‘Overtime Rate’

  of pay was approximately no less than $30 per hour. He was never paid overtime hours at an FLSA

  ‘Overtime Rate’ at all during the period of implementation of the sham ‘commission’ scheme and

  his final day. ROBERT SCHULTZE is owed the difference between the amount he was actually

  paid and the amount that he should have been paid if he had been paid overtime at the correct

  overtime rate for all overtime hours worked.

                14.            Schultze was Not Paid Pursuant to a ‘Bona Fide Commission Rate’ and the

  Clevelander Cannot Avail Itself of the 207(i) Exemption Affirmative Defense: Defendant failed

  to pay Overtime to Defendant by, among other devices, using a fictional commission scheme to

  pay an arbitrary hourly rate under the guise of a 207(i) commission exemption (“7(i) exemption”).

  As recognized by a recent U.S. Southern District of Florida opinion analyzing the Clevelander’s

  same commission scheme, in order for the Clevelander to use the 7(i) exemption, it must use a

  ‘bona fide commission rate’ and—must actually utilize the commission rate—in paying the

  employee. 1


  																																																													
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    “The commission must be a ‘bona fide commission rate.’ 29 U.S.C. § 207(i). … [The
  Clevelander’s] Corporate Representative readily admitted that Defendant did not (and still does
  not) have the records needed to show that Defendant actually utilized the commission structure
  [described by the Clevelander], let alone any commission structure … The Court, therefore, agrees
  with Plaintiff that Defendant seeks to ‘circumvent FLSA’s overtime requirements by
  presenting a fictional commission scheme to the court’ based on paying an ‘arbitrary hourly
  rate.’” Joseph Flores v. 2K Clevelander, LLC, No. 1:16-cv-24083-UU, Doc. 80 at p.10-12 (S.D.
  Fla. May 4, 2017) (holding that 7(i) exemption requires that Defendant be paid pursuant to a ‘bona
  fide commission rate’ in denying summary judgment as to 7(i) exemption) (emphasis supplied;
  docket citations omitted) citing Klinedinst v. Swift Investments, Inc., 260 F.3d 1251, 1256 (11th
  Cir. 2001)

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                15.            207(i) Exemption Requires that Employees be Paid Pursuant to a ‘Bona Fide

  Commission Rate’: Importantly, the 7(i) exemption affirmative defense requires, among other

  things, that the Clevelander (i) used an actual methodology or formula that it can fully articulate

  and prove by clear and affirmative evidence (the formula to calculate compensation—not merely

  some amount or percent charged to the customer); (ii) it implemented and paid the employee using

  this actual methodology or formula by clear and affirmative evidence; (iii) that this formula and

  methodology had all of the required characteristics of a ‘bona fide commission’; and (iv) that all

  of the foregoing was used, implemented, and paid such that Defendant paid Plaintiff a ‘bona fide

  commission’ for all of Plaintiff’s work. 2

                16.            Sham ‘Commission’ Scheme: Between implementation of its sham ‘commission’

  scheme and the date of Defendant’s termination, including the dates of approximately July 18,

  2014 through approximately September 16, 2014, Defendant did not pay ROBERT SCHULTZE

  any overtime whatsoever, despite that he worked over forty hours per week during each of these

  weeks. The ‘commissions’ were in fact not paid according to any formula or rate as to ROBERT

  SCHULTZE. In fact, he was told that he was a ‘barback’ but then paid sham ‘commissions’ as if

  he were a ‘food runner’ and vice versa. There was no consistency in the amounts or rates and no

  set formula. The Defendant did not keep records of sales that correlated with each barback and,

  in fact, could not do so because each barback often worked at more than one bar or restaurant on

  any given shift. Plaintiff did not have any interactions or sell anything directly to customers. The



  																																																													
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    If all of the ‘bona fide commission’ requirements are met and the employee is actually paid
  according to the ‘bona fide commission rate’, the 7(i) Exemption applies if (1) the employer is a
  retail or service establishment; (2) the regular rate of pay of the employee is in excess of one and
  one-half times the minimum hourly rate applicable to him under 29 U.S.C. § 206; and (3) more
  than half of the employee’s compensation for a representative period (not less than one month)
  represents commissions on goods or services; (4) all other FLSA requirements are satisfied.

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  employees were never told what their commission rate was and the fact that this was a sham was

  hidden from the employees in furtherance of the improper scheme.

         17.     In fact, many employees were unaware of the scheme because the Clevelander was

  so thorough in creating its facade. In fact, a legitimate commission formula was not possible

  because the Clevelander did not keep records of which employees were working on which checks;

  which employees were linked to a check when shifts changed; which bars, restaurants, and food

  and drink sales were part of the commission scheme; and whether tips were included. ‘Bottle

  service’ was not properly accounted for in the commission ‘scheme’. ‘Room service’ was not

  properly accounted for in the commission ‘scheme’.

         18.     Amounts that were reduced as ‘comps’ (check amounts that were reduced or

  eliminated, e.g., for friends of management) were reduced from the amounts payable to

  employees—amounting to an improper and arbitrary reduction of compensation from employees.

         19.     Compensation was also improperly reduced from employee paychecks for

  employee mistakes. Employees were also not paid interest on ‘retroactive payments’ and the

  Clevelander did not keep proper FLSA records for ‘retroactive payments’.

         20.     Moreover, the Defendant included credit card tips in its sham calculation of sham

  ‘commissions’, an act that is specifically prohibited (tips are specifically excluded as an amount

  that cannot be used in a bona fide commission calculation/in satisfying the 7(i) exemption); they

  must be separated but were not by the Defendant.

         21.     Failure to Compensate for Unrecorded Time & Improper Recordkeeping: In

  addition to not paying an overtime rate for the recorded hours over 40 per workweek, the

  Clevelander failed to record on average as much as .5 hours and/or as much as 2.5 hours per day.

  This is in addition to the difference between the ‘Overtime Rate’ and ‘Regular Rate’ for every




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  recorded overtime hour between implementation of its sham ‘commission’ scheme and the date of

  Plaintiff’s termination, including the dates of approximately July 18, 2014 through approximately

  September 16, 2014. This also includes, but is not limited to, all dates of work for which the last

  element of the FLSA violation occurred on or after July 18, 2014. The Clevelander failed to

  accurately record time worked and wages paid. The Clevelander failed to accurately record time

  worked and wages paid in order to avoid the requirements of the FLSA and further evidences the

  willfulness of the Clevelander’s violation.

         22.     ROBERT SCHULTZE was told he had to work while clocked out and that after

  ‘clocking out’ he had to do additional work, depriving him of significant pay. The Defendant

  systematically forced employees to work while clocked out, including requiring them to ‘clock out

  before cashing out’, despite knowing that it would take a significant amount of time for an

  employee to work off the clock while cashing out. ROBERT SCHULTZE worked on average as

  much as .5 hours and/or as much as 2.5 hours per day that were not recorded, between these dates

  as well, and this time not recorded. He was also never paid for the unrecorded hours at an FLSA

  ‘Regular Rate’ at all during this period.

         23.     Defendant Admitted to Daily Time Clock Errors. The Defendant’s time clocks

  did not function properly, and the Clevelander routinely admitted to its employees in writing that

  there were time clock errors every single day. The Clevelander routinely admitted to its employees

  that ‘commissions’ could, thus, not be properly calculated.

         24.     Failure to Record Cash Tips in Violation of the FLSA. Defendant failed to record

  cash tips in furtherance of its scheme to underpay employees. By intentionally understating tips,

  the Clevelander improperly and artificially reduced the ‘Regular Rate’. FLSA Regular Rate is

  calculated by including all compensation, including tips. Failure to record cash tips was a direct




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  violation of the FLSA recordkeeping requirements, and the Defendant failed to record these tips

  in order to artificially reduce the ‘Regular Rate’, which improperly reduced the ‘Overtime Rate’

  (Overtime Rate equals 1.5 x ‘Regular Rate). These unrecorded cash tips must be added back in to

  determine the full extent of Overtime owed.

         25.     The Failure to Pay Pursuant to Bona Fide Exemption Rate (if an Articulable

  Rate Existed) Extinguishes the Exemption: ROBERT SCHULTZE was not an exempt employee

  under the FLSA; even if he was supposed to be paid according to an articulable ‘bona fide

  commission rate’ in furtherance of the 7(i) exemption, ROBERT SCHULTZE was not actually

  paid pursuant to a ‘bona fide commission rate.’ That is, if a bona fide commission rate existed, he

  was not paid the amounts due under the bona fide commission rate. In other words, even if a ‘bona

  fide exemption rate’ existed in theory: because he was not actually paid pursuant to the rate,

  failure to pay pursuant to the rate renders both the rate and the exemption nothing more than an

  irrelevant fiction and ‘extinguishes’ the exemption.

         26.     Even if the 7(i) Exemption Applied to Some or All Hours Worked, Employee Must

  be Compensated for Moneys Owed to Avail Itself of the Exemption: even if ROBERT

  SCHULTZE, was an ‘exempt’ employee for some or all of the hours worked (e.g. for 2 of the

  weeks), he is owed the amounts due under the ‘commission rate’ that have not been paid; he has

  not been properly paid under same and is owed such amounts. Such moneys are recoverable under

  this action and must be paid pursuant to this claim. This claim seeks all such moneys for amounts

  owed under any period in which SCHULTZE is found to be a 7(i) exempt employee (and where

  overtime is not recoverable).

         27.     Willfulness—Defendant Prohibited Employees from Exchanging Wage

  Literature and Dissuaded Employees from Enforcing their Rights: Further, the Defendant set




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  procedures to prohibit its employees from discovering the Defendant’s wage violations and from

  discussing the wage violations with fellow employees. In fact, the Defendant prohibited the

  employees from exchanging wage literature, and enforced a blanket prohibition against

  employee’s soliciting or exchanging pamphlets, in violation of the National Labor Relations Act.

  The Defendant also included restrictions against discussing and reporting violations in violation

  of the National Labor Relations Act. The Defendant enforced a restriction against employee’s

  sharing their wage information with one another in violation of the National Labor Relations Act.

  The Defendant has repeatedly and willfully dissuaded employees from enforcing their rights and

  has intentionally and willfully taken actions to conceal these violations in order to delay

  employee’s enforcement of their rights. Where facts and evidence discovered support expanding

  recovery to time periods which would otherwise be time barred, Plaintiff seeks recovery as far

  back as those facts reveal. These actions further evidence the willful nature of Defendant’s

  systematic violations.

         28.     Calculation of ‘Regular Rate’: Between the dates of approximately July 18, 2014

  through approximately September 16, 2014, ROBERT SCHULTZE’s ‘Regular Rate’ was different

  on each week because ROBERT SCHULTZE’s compensation rate varied and the calculation of

  ‘Regular Rate’ varies based on the actual amount of compensation each week. The ‘Overtime

  Rate’ is 1.5 x this ‘Regular Rate’. His average ‘Regular Rate’ was approximately $20 per hour.

  This calculation is subject to update, as more precise calculations become possible (including as

  approximations as to the amounts of cash tips become apparent through discovery).

         29.     Artificially Low ‘Regular Rate’: Plaintiff was told that he must either accept the

  payment or he would receive 1.5 x. an Artificially Low ‘Regular Rate’, in violation of the FLSA,

  as discussed in the Department of Labor regulations for Devices to Evade the Requirements of the




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  Act. This further evidences the willfulness of Defendant’s violation.

         30.     Liquidated Damages, Attorneys’ Fees, and Costs: The FLSA provides that as a

  remedy for a violation of the Act, an employee is entitled to his or her unpaid wages plus an

  additional equal amount in liquidated damages (doubling), plus costs, interest and reasonable

  attorneys’ fees. As a result of the Clevelander’s violations, Plaintiff is entitled to unpaid wages

  plus an additional equal amount in liquidated damages along with costs, interest and reasonable

  attorneys’ fees. Plaintiff seeks reasonable attorneys’ fees and costs under the FLSA and to the

  fullest extent permissible under all applicable law, including under 29 U.S.C. § 216(b) and all other

  applicable law. Plaintiff claims the highest amount owed under this cause of action. Where

  Plaintiff is owed 1.5 x ‘Regular Rate’; Minimum Wage; or some other amount for any particular

  time worked, Plaintiff seeks the highest amount as allowed by law.

         31.     Improper Recordkeeping: Plaintiff’s burden to prove particular aspects of his

  claim is reduced—as provided by applicable law—by Defendant’s failure to keep proper records

  and failure to comply with FLSA recordkeeping requirements; the Clevelander had time clock

  errors every day; failed to keep proper FLSA records for ‘retroactive’ payments; failed to record

  cash tips; failed to keep a proper record of purported commissions; lost and/or destroyed records;

  instructed employees to work while clocked out; failed to keep notations as to which employees

  were exempt; failed to keep records as to alleged commission rates; failed to keep records as to

  ‘representative periods’ for the purported 7(i) exemption; failed to record all days and hours

  worked; and otherwise failed to keep proper records.

         WHEREFORE, the Plaintiff demands Trial by Jury; judgment against the Defendant for

  damages suffered as a result of the alleged lost earnings; liquidated damages; other damages

  together with all taxable court costs, attorneys’ fees, as well as prejudgment interest (prejudgment




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  interest if liquidated damages are not available); and such other relief as the Court may deem just

  and proper.

  Dated this 18th day of July, 2017
                                                       Respectfully submitted,

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